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        Of            for Defendants
        Of Attorneysfor
        Lake Oswego School District and
                                     and
        Lake Oswego School Board




                                IN THE UNITED STATES DISTRICT COURT

                                    FOR THE DISTRICT OF OREGON

                                        PORTLAND DIVISION

     JOHN PARKS,                                                         Case No. 3:24-cv-1198-JR

                   Plaintiff,                           DECLARATION OF DONNA WATSON
                                                           IN SUPPORT OF LAKE OSWEGO
            v.                                              SCHOOL DISTRICT AND LAKE
                                                               OSWEGO SCHOOL BOARD’S
                                                                              BOARD'S
     LAKE OSWEGO SCHOOL DISTRICT;                            OPPOSITION TO PLAINTIFF’S
                                                                           PLAINTIFF'S
     LAKE OSWEGO SCHOOL BOARD;                                MOTION FOR PRELIMINARY
     OREGON SCHOOL ACTIVITIES                                              INJUNCTION
     ASSOCIATION; PORTLAND PUBLIC
     SCHOOLS; and MARSHALL HASKINS,
     individually and in his representative
               for OREGON SCHOOL
     capacity for
     ACTIVITIES ASSOCIATION
                    ASSOCIATION and
     PORTLAND PUBLIC SCHOOLS,

                   Defendants.


            I, Donna Watson, do hereby declare as follows:

            1.     I am the Executive Director of Human Resources at Lake Oswego School District

Page 1 -                                                                       HART WAGNER LLP
           DECLARATION OF DONNA WATSON IN SUPPORT                       1000 S.W. Broadway, Twentieth Floor
           OF LAKE OSWEGO SCHOOL DISTRICT AND LAKE                             Portland, Oregon 97205
           OSWEGO SCHOOL BOARD'S
                           BOARD’S OPPOSITION TO                              Telephone: (503) 222-4499
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           PLAINTIFF’S
           PLAINTIFF'S MOTION FOR PRELIMINARY
           INJUNCTION
          Case 3:24-cv-01198-JR          Document 18         Filed 10/21/24        Page 2 of 3



   (District) and oversee hiring and other personnel matters for the District and our component

   schools, one of which is Lake Oswego High School ("LOHS"). I make this declaration in

   support of defendants' Opposition to Plaintiff's Motion for Preliminary Injunction.

          2.      The District posted a job opening for the Fall 2024 cross-country head coaching

   position at LOHS on June 17, 2024. The position was kept open until July 18, 2024. The

   position has been filled. Plaintiff John Parks did not submit an application for that position.

          3.      The District posted a job opening for the Spring 2025 track head coaching

   position at LOHS on June 17, 2024. The position was kept open until September 20, 2024. The

   position has been filled. Plaintiff John Parks did not submit an application for that position.

          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

   is true and correct.

          DATED this /114d:y of October, 2024.




                                                By:
                                                       Donna Watson




Page 2 - DECLARATION OF DONNA WATSON IN SUPPORT                                  HART WAGNER LLP
                                                                          1000 S.W. Broadway, Twentieth Floor
         OF LAKE OSWEGO SCHOOL DISTRICT AND LAKE                                 Portland, Oregon 97205
         OSWEGO SCHOOL BOARD'S OPPOSITION TO                                   Telephone: (503) 222-4499
                                                                                Facsimile: (503) 222-2301
         PLAINTIFF'S MOTION FOR PRELIMINARY
         INJUNCTION
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on the 21st day of October, 2024, I served the foregoing

   DECLARATION OF DONNA WATSON IN SUPPORT OF LAKE OSWEGO SCHOOL

   DISTRICT AND LAKE OSWEGO SCHOOL BOARD'S
                                   BOARD’S OPPOSITION TO

   PLAINTIFF’S
   PLAINTIFF'S MOTION FOR PRELIMINARY INJUNCTION on the following parties at

   the following addresses:

          Luke D. Miller
          Miller Bradley Law LLC
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          office@millerbradleylaw.com

          M.E. Buck Dougherty III
          Liberty Justice Center
          Building 2
          13341 W. U.S. Highway 290
          Austin, TX 78737
          bdougherty@libertyjusticecenter.org
             Of            for Plaintiff
             Of Attorneysfor   Plaintiff

   by electronic means through the Court’s
                                   Court's Case Management/Electronic Case File system.

                                                       /s/Taylor B. Lewis
                                                       Taylor B. Lewis




Page 1 - CERTIFICATE OF SERVICE                                                    HART WAGNER LLP
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